                       Case
B-2100A (Form 2100A)(12/15)     18-12969-JKO             Doc 65           Filed 03/23/19        Page 1 of 2


                                  UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF FLORIDA
IN RE:                                                            §
                                                                  §        CASE NO. 18-12969-JKO
RALPH LEVI SANDERS, JR.                                           §
     DEBTOR                                                       §



                       TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
referenced in this evidence and notice.
Specialized Loan Servicing, LLC as servicing agent for
The Bank of New York Mellon, f/k/a The Bank of New                         The Bank of New York Mellon, f/k/a The Bank of New
York, successor in interest to JPMorgan Chase Bank,                        York, successor in interest to JPMorgan Chase Bank,
N.A. as Trustee for Bear Stearns Asset Backed                              N.A. as Trustee for Bear Stearns Asset Backed
Securities Trust 2006-SD2, Asset-Backed Certificates,                      Securities Trust 2006-SD2, Asset-Backed Certificates,
Series 2006-SD2                                                            Series 2006-SD2 c/o Wells Fargo Bank, N.A.
                  Name of Transferee                                                         Name of Transferor


Name and Address where notices to transferee should                        Court Claim # (if known): 1-1
be sent:                                                                   Amount of Claim: $409,598.99
                                                                           Date Claim Filed: 04/03/2018
     Specialized Loan Servicing LLC
     8742 Lucent Blvd, Suite 300
     Highlands Ranch, Colorado 80129
Phone: (800) 315-4757                                                      Phone: 800-274-7025
Last Four Digits of Acct #: xxxxxx9424                                     Last Four Digits of Acct.#: 9122
Name and Address where transferee payments should
be sent (if different from above):
     Specialized Loan Servicing, LLC
     PO Box 636007
     Littleton, Colorado 80163
Phone:
Last Four Digits of Acct #: xxxxxx9424
I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my knowledge
and belief.
By: /s/ John J. Rafferty
    Transferee/Transferee's Agent                             Date:                        03/22/2019

    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.




POC_TOCForm000                                                        1                                                      4128-N-3837
                  Case 18-12969-JKO             Doc 65       Filed 03/23/19         Page 2 of 2



                          CERTIFICATE OF SERVICE OF TRANSFER OF CLAIM
I hereby certify that a true and correct copy of the foregoing document has been served upon the following parties in
interest on or before March 25, 2019 via electronic notice unless otherwise stated:


Debtor                Via U.S. Mail
Ralph Levi Sanders, Jr.
561 SW 60 Ave.
Plantation, FL 33317


Debtors' Attorney
Michael H. Johnson
Attorney At Law
3601 W. Commercial Blvd. #31
Ft. Lauderdale, FL 33309

Chapter 13 Trustee
Robin R. Weiner
PO Box 559007
Fort Lauderdale, Florida 33355


                                                      Respectfully Submitted,

                                                      /s/ John J. Rafferty
                                                      John J. Rafferty




TRANSFER OF CLAIM - CERTIFICATE OF SERVICE                                                                4128-N-3837
                                                                                                       POC_CertOfServ
